                      Case 1:14-cv-05683-KBF-DCF Document 78 Filed 11/21/14 Page 1 of 1  'I
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                  UNITED ST ATES DISTRICT COURT                                            \\DATE   flLED:N0_V __ ~~_}}~1!!\
                  SOUTHERN DISTRICT OF NEW YORK                                             ~:=----~-=·=:::---      ·• - - -

                  SAGI GENGER,                                                  Civ. No.: 14-5683 (KBF)

                                                              Plaintiff,
                                                                                NOTICE OF APPEAL
                                               - against -

                  ORLY GEN GER,

                                                              Defendant.


                                      Notice is hereby given that Orly Genger, defendant in the above-named case,

                  hereby appeals to the United States Couri of Appeals for the Second Circuit from the Order

                  entered in this action on the 18th day of November, 2014, vacating the Court's prior

                  October 7, 2014 Order, and granting plaintiff Sagi Genger's motion to compel production

                  of a confidential settlement agreement, and from the Endorsed Order entered in this action

                  on the 21st day of November, 2014, that denied defendant Orly Genger's motion for

                  reconsideration of the November 18, 2014 Order and denied Orly Genger's motion for a

                  stay.


                  Dated: New York, New York
                         November 21, 2014
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